
Judge McKEOWN, Circuit Judge,
concurring:
I concur in the panel’s judgment: Arizona’s voter registration form passes constitutional muster. I write separately because I believe the rational basis review and burden-shifting standards articulated in Libertarian Party of Washington v. Munro, 31 F.3d 759 (9th Cir.1994), and applied by the panel in this ease, are inconsistent with the Supreme Court’s approach to analyzing voting rights challenges.
The majority opinion discusses at length how political parties in Arizona gain access to the ballot and states that “[t]he relevant inquiry ‘is whether “reasonably diligent” minor party candidates can normally gain a place on the ballot.... ’” Maj. Op. at 619 (quoting Munro, 31 F.3d at 762). But this is not a ballot access case. This case focuses instead on the state’s voter registration process, specifically the form that lists only the two major political parties and simply leaves a blank for a prospective voter to identify any other party. This is, of course, a change from the prior voter registration form that identified no specific parties and simply provided a write-in line for party preference. The essence of the minority parties’ claim is that they are burdened because the revised form advantages the major parties. By not being listed, the minority parties claim they are unable to compete for voter registrations on an equal footing.1
The starting point for analyzing an election law challenge is the Supreme Court’s opinion in Burdick v. Takushi, 504 U.S. 428, 112 S.Ct. 2059, 119 L.Ed.2d 245 (1992). The Court succinctly stated the applicable standard: “A court considering a challenge to a state election law must weigh the character and magnitude of the asserted injury to the rights protected by the First and Fourteenth Amendments *623that the plaintiff seeks to vindicate against the precise interests put forward by the State as justifications for the burden imposed by its rule, taking into consideration the extent to which those interests make it necessary to burden the plaintiffs rights.” Id. at 434, 112 S.Ct. 2059 (internal quotation marks and citations omitted).
In Munro, we summarized Burdick as follows: “If the burden is severe, the challenged procedures will pass muster only if they are narrowly tailored to achieve a compelling state interest. If the burden is slight, the procedures will survive review as long as they have a rational basis.” 31 F.3d at 761 (citing, but not quoting, Burdick, 504 U.S. at 434, 112 S.Ct. 2059). According to Munro, in the event plaintiffs can only demonstrate a “slight” or “de minimis ” impairment of their rights, they then bear “the burden of demonstrating that the regulations they attack have no legitimate rational basis.” Id. at 763. The panel repeats the Munro standard. Maj. Op. at 621.
Neither rational basis review nor the burden-shifting framework articulated in Munro is found in Burdick, nor in any other Supreme Court voting rights decision since. The Supreme Court has consistently employed language that rejects traditional rational basis review. In Crawford v. Marion County Election Board, 553 U.S. 181, 128 S.Ct. 1610, 170 L.Ed.2d 574 (2008), for example, the Court wrote that there is no “litmus test for measuring the severity of a burden that a state law imposes on a political party, an individual voter, or a discrete class of voters. However slight that burden may appear ... it must be justified by relevant and legitimate state interests ‘sufficiently weighty to justify the limitation.’ ” Id. at 191, 128 S.Ct. 1610 (quoting Norman v. Reed, 502 U.S. 279, 288-89, 112 S.Ct. 698, 116 L.Ed.2d 711 (1992)).
This understanding of the Supreme Court’s approach to analyzing voting rights cases is faithfully reflected in our recent decision in Dudum v. Arntz, 640 F.3d 1098 (9th Cir.2011). There, we concluded that San Francisco’s instant runoff voting system imposed an “extremely limited burden[]” on the plaintiffs. Id. at 1117. We nonetheless evaluated whether the government’s purported interests were “substantial enough to justify” that minimal burden. Id. at 1114-17. This language can be read as a variation on the “sufficiently weighty” requirement. Other cases have likewise eschewed resort to traditional rational basis analysis when evaluating the constitutionality of laws that impose “nonsevere burdens” on voting rights. See, e.g., Lemons v. Bradbury, 538 F.3d 1098, 1104 (9th Cir.2008) (upholding regulation imposing a “minimal burden on plaintiffs’ rights” with respect to signature verification in the referendum process); Rubin v. City of Santa Monica, 308 F.3d 1008, 1017 (9th Cir.2002) (weighing the government’s “important regulatory interest in predictable and administrable election rules” against challenge to regulation on how candidates are identified on the ballot). Indeed, neither party in this case argued that rational basis review was the appropriate standard for analyzing the minority parties’ claims.
Munro, like the majority opinion, suffers another deficiency — it places the burden on the plaintiffs vis-a-vis the state’s purported interests. In a situation where there is only a slight burden on a party’s constitutional rights, Munro instructs that that party “bear[s] the burden of demonstrating that the regulations [it] attack[s] have no legitimate rational basis." 31 F.3d at 763. This turns Burdick’s balancing standard on its head and relieves the state of its burden of putting forward “interests ‘sufficiently weighty to justify the limita*624tion.’ ” Crawford, 553 U.S. at 191, 128 S.Ct. 1610 (quoting Norman, 502 U.S. at 288-89, 112 S.Ct. 698). It is no accident that in introducing the balancing standard, the Court counseled lower courts that they “must weigh the character and magnitude” of plaintiffs’ asserted injury “against the precise interests put forward by the State.” Burdick, 504 U.S. at 434, 112 S.Ct. 2059 (internal quotation marks omitted).
It may well be that the semantic distinction between the balancing test and the rational basis standard articulated in Munro makes little difference in many cases. See Christopher S. Elmendorf, Structuring Judicial Review of Electoral Mechanics: Explanations and Opportunities, 156 U. Pa. L.Rev. 313, 330 (2007) (“For now, suffice it to say that the Supreme Court typically applies something like rational basis review in [voting rights cases where the burden is nonsevere], but that the rationality standard may not be quite so lax as the one applied to ordinary economic and social legislation.”). However, it is difficult to believe that the Supreme Court’s articulation of the balancing standard represents anything other than a deliberate choice to eschew traditional rational basis review. The balancing standard instructs courts to be vigilant in their review of rules and regulations that disadvantage minority viewpoints. See Anderson, 460 U.S. at 793, 103 S.Ct. 1564 (1983) (“[I]t is especially difficult for the State to justify a restriction that limits political participation by an identifiable political group whose members share a particular viewpoint, associational preference, or economic status.”). The balancing principle also recognizes that voting laws that at first glance appear to be inconsequential may unfairly distort, election outcomes. See, e.g., Gould v. Grubb, 14 Cal.3d 661, 122 Cal.Rptr. 377, 536 P.2d 1337, 1346 (1975) (holding that it is unconstitutional for a ballot to list candidates in alphabetical order because it “reserves advantageous ballot positions for candidates whose names begin with letters occurring early in the alphabet”).
Any effort to apply the balancing standard to this case is hamstrung by a lack of evidence. It is remarkable that both parties rely principally on generalizations, i.e. a claimed burden, or platitudes, i.e. efficiency, rather than evidence. Other than the registration form itself and statistics that show an ambiguous decline in voter registrations across all political parties, the minority parties have not presented any evidence that demonstrates the burden on their rights. Likewise, the state has not even attempted to document the administrative benefits of its voter registration form. Without any evidence regarding the practical consequences of the voter registration form, we find ourselves in the position of Lady Justice: blindfolded and stuck holding empty scales.
In light of the poorly developed record in this case, I conclude that the voter registration form passes constitutional muster. The form is constitutional, however, not because the minority parties have “failed to meet their burden” of demonstrating it “ha[s] no legitimate rational basis,” Maj. Op. at 621. Rather, the voter registration form is constitutional because, even on the thin record we have before us, the state’s asserted interests in reducing printing costs and easing administrative efficiency are “sufficiently weighty to justify” the speculative burden on the plaintiffs’ rights. See Crawford, 553 U.S. at 191, 128 S.Ct. 1610.
I recognize that Munro has never been officially overruled or abrogated. However, in my view, to the extent Munro prescribes a different standard than what the *625Supreme Court articulated in Burdick and reiterated in Crawford, we should fix it.

. In Anderson v. Celebrezze, the Supreme Court explicitly recognized that state "schemes ... govern[ing] the registration and qualification of voters” can burden "the individual's right to vote and his right to associate with others for political ends.” 460 U.S. 780, 788, 103 S.Ct. 1564, 75 L.Ed.2d 547 (1983). For example, it would surely be unconstitutional for a state to sponsor voter registration drives at Republican Party events, while refusing to do so at comparable Democratic gatherings. The tacit encouragement alleged by the minority parties here is of the same character, but of a different magnitude.

